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UNITED STATES DISTRICT COURT                                            MEMO ENDORSED
SOUTHERN DISTRICT OF NEW YORK


 In re

 CUSTOMS AND TAX ADMINISTRATION OF                   MASTER DOCKET
 THE KINGDOM OF DENMARK
 (SKA TTEFORV AL TNINGEN) TAX REFUND                 18-md-02865-LAK
 SCHEME LITIGATION

 This document relates to:     The cases
                               identified in
                               Appendix A



                 INVESTOR DEFENDANTS' MOTION FOR SEVERANCE

          PLEASE TAKE NOTICE that defendants R ichard Markowitz, John van Merkensteijn

and Robert Klugman (the "Investor Defendants"), by their undersigned counsel, will apply before

the Honorable Lewis A. Kaplan of the U.S. District Court for the Southern District of New York

at the Daniel Patrick Moynihan U.S. Courthouse, 500 Pearl Street, New York, New York 10007,

at a time and date to be determined by the Court, for an order under Rules 21 and 42(b) of the

Federal Rules of Civil Procedure severing the claims against the Investor Defendants from those

against defendant Michael Ben-Jacob ("Ben-Jacob") and joining Ben-Jacob in requesting the relief

sought in Ben-Jacob' s motion for severance filed contemporaneously herewith for the reasons set

forth in the Investor Defendants ' submissions dated January 4, 2024 (Dkt, 948), January 24, 2024

(Dkt, 953) and February 7, 2024 (Pkt, 955).
